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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                   Chapter 7

                                                   Case No.: 16-43728-nhl
CNG GOODS LLC,

                            Debtor.
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  DECLARATION IN RESPONSE TO DEBTOR’S MOTION TO DISMISS

     BARRY R. FEERST declares the following pursuant to 28 U.S.C.

§1746:


     1. I am a Pro Se Creditor and I make and submit this

declaration in opposition to Debtor’s order to show cause. The

other Creditors, have agreed with the position stated herein.

     2. Firstly, Petitioner served Debtor within the time allowed

for service. Pursuant to FRBR 7004 (j) Summons: Time Limit for

Service. If a service of the summons and complaint is not made upon

a defendant within 120 days after the filing of the complaint and

the party on whose behalf such service was required cannot show

good cause why such service was not made within that period, the

action shall be dismissed as to that defendant without prejudice

upon the court's own initiative with notice to such party or upon

motion.

     3.In this case, the affidavit of service, attached at Exhibit
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“1", indicates that the debtor was properly served with the

involuntary petition      on September 1, 2016.

        4. Notwithstanding the fact that Debtor does not properly

specify under which provision of the FRCP 12 it is asking this

court to dismiss the petition, Debtor’s motion to Dismiss and the

other relief it seeks is improper and must be denied.

        5. The issue of whether an involuntary petition should be

dismissed for failure to state a claim is a question of law. Assoc.

of Cleveland Fire Fighters v. City of Cleveland, 502 F.3d 545, 548

(6th Cir. 2007). In Bell Atl. Corp. v. Twombly, 127 S.Ct. 1955

(2007), the Supreme Court clarified the standard that a complaint

must meet to survive a challenge under rule 12(b)(6). The standard

is equally applicable to an involuntary petition because it is the

document by which an involuntary bankruptcy case is commenced, just

as a complaint commences a lawsuit in district court. Under

Twombly, “[f]actual allegations contained in a[n] [involuntary

petition] must ‘raise a right to relief above the speculative

level.’” Bassett v. Nat’l Collegiate Athletic Assoc., 528 F.3d 426,

430 (6th Cir. 2008) (quoting Twombly, 127 S.Ct. at 1965). “Twombly

does not ‘require heightened fact pleading of specifics, but only

enough facts to state a claim to relief that is plausible on its

face.’” Id. (quoting Twombly, 127 S.Ct. at 1974).

        6. Under a Rule 12(b)(6) review, the involuntary petition is

construed in the light most favorable to the petitioning creditors,

their    allegations   are   accepted     as   true,    and   all    reasonable
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inferences are drawn in their favor. Id. (citing Directv, Inc. v.

Treesh, 487 F.3d 471, 476 (6th Cir. 2007)).

        7. Bankruptcy code § 303(b) provides that an involuntary case

may be commenced against a person by three or more creditors whose

claims aggregate at least $13,475.00 more than the value of any

lien on the debtor’s property securing the claims and whose claims

are not contingent as to liability or subject to a bona fide

dispute as to liability or amount. 11 U.S.C. § 303(b)(1). If the

petition is challenged, involuntary relief shall be granted if the

debtor is generally not paying his debts (other than debts subject

to a bona fide dispute as to liability or amount) as they become

due. 11 U.S.C. § 303(h)(1).

        8. In this case, the involuntary petition alleges that: (1)

the petitioning creditors are eligible to file the petition under

11 U.S.C. § 303(b); (2) CNG FOODS LLC is a Corporation against whom

involuntary relief may be entered; and (3) CNG FOODS LLC is not

generally paying it’s debts as they become due except to the extent

such debts are subject to a bona fide dispute as to liability or

amount.

        9. The Petition also states the nature of each of the four

petitioning    creditors    claims    and    that    their   claims    aggregate

$128,624.00. These allegations are plausible on their face and

clearly state a claim for involuntary relief under the bankruptcy

code.

        10. Rather than filing an Answer to the Petition, Debtor
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makes factual arguments as to the validity of the debts, which are

not appropriate for resolution on a motion to dismiss. Therefore,

as   earlier   stated,     Debtor’s    motion      seeking     dismissal   of    the

involuntary petition must be denied.

      11. Moreover, Debtor’s motion requests additional relief,

including costs and damages based on its assertion that the

involuntary petition is a frivolous pleading. However, 11 U.S.C. §

303(i), provides for a judgment including costs, attorney fees and

damages   in   favor   of    the    Debtor   and     against    the   petitioning

creditors only if the court dismisses the involuntary petition.

Since this court has not dismissed the involuntary petition, the

relief debtor seeks must also be denied as                   premature and the

Creditors reserve the right to seek the appropriate sanction for

the making of an ill advised Motion.

      Wherefore, it is requested that the Motion be denied.




                                                             ____/s____________
                                                               BARRY R. FEERST




Dated: Brooklyn, New York
       November 15, 2016
